                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

In re:                                                     ) Chapter 11
                                                           )
MOON GROUP, INC., et al.,1                                 ) Case No. 21-11140 (CSS)
                                                           )
         Debtors.                                          ) (Jointly Administered)

    DEBTORS’ MOTION FOR INTERIM AND FINAL ORDERS (I) AUTHORIZING AND
    APPROVING EMERGENCY POST-PETITION FINANCING; (II) GRANTING LIENS;
     AND (III) PROVIDING SUPERPRIORITY ADMINISTRATIVE EXPENSE STATUS

          Moon Group, Inc. and its debtor affiliates (the “Debtors”), as debtors and debtors in

possession in the above-captioned Chapter 11 cases, hereby file their Motion For Interim And

Final Orders (i) Authorizing And Approving Emergency Post-Petition Financing; (II) Granting

Liens; and (iii) Providing Superpriority Administrative Expense Status (the “Motion”). In support

of this Motion, the Debtors respectfully state:

                                                 I.
                                      JURISDICTION AND VENUE

          1.        This Court has jurisdiction to consider this Motion pursuant to 28 U.S.C. §§ 157

and 1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2). The Debtors confirm their

consent to the entry of a final order by the Court in connection with this Motion to the extent that

it is later determined that the Court, absent consent of the parties, cannot enter final orders or

judgments in connection herewith consistent with Article III of the United States Constitution.

          2.        Venue of this case and this Motion is proper in this Court pursuant to 28 U.S.C. §§

1408 and 1409.




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  The Debtors in these chapter 11 cases, along with the last four digits of each of the Debtors’ respective federal tax
identification numbers, are as follows: Moon Group, Inc. (7484); Moon Landscaping, Inc. (3442); Moon Nurseries,
Inc. (8411); Moon Site Management, Inc. (0250); Moon Wholesale, Inc. (3232); and Rickert Landscaping, Inc. (3988).
The Debtors’ headquarters and mailing address is 145 Moon Road, Chesapeake City, MD 21915.
         3.    The statutory predicates for the relief requested herein are sections 364, 105, 362,

and 363 of title 11 of the United States Code, 11 U.S.C. §§ 101, et seq. (the “Bankruptcy Code”)

and Rules 2002 and 4001 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”).

                                             II.
                                         BACKGROUND

         4.    On August 12, 2021 (the “Petition Date”), the Debtors filed respective voluntary

petitions for relief under chapter 11 of the Bankruptcy Code with the United States Bankruptcy

Court for the District of Delaware (the “Court”) commencing the above-captioned chapter 11

cases.    The factual background regarding the Debtors, including their respective business

operations, capital and debt structure, and the events leading to the filing of these bankruptcy cases,

is set forth in detail in the Declaration of John Pursell, Jr. in Support of the Debtors’ First Day

Motions filed on August 13, 2021 (the “Pursell Declaration”) [D.I. 12].

         5.    The Debtors have continued in possession of their properties and have continued to

operate and maintain their businesses as debtors in possession pursuant to sections 1107(a) and

1108 of the Bankruptcy Code.

         6.    No trustee or examiner has been appointed in these chapter 11 cases. An official

committee of unsecured creditors (the “Committee”) was appointed by the Office of the United

States Trustee on August 30, 2021.

                                              III.
                                      RELIEF REQUESTED

         7.    In this Motion, the Debtors request authority to enter into a debtor in possession

loan (the “DIP Loan”) for purposes of funding operating expenses and other post-petition costs of

the Debtors and to refinance the secured claim of KORE Capital Corporation (“KORE”) in the

aggregate approximate amount of $5.5 million. The lender under the DIP Loan are Certain

Investment Fund(s) for which Legalist DIP GP, LLC (the “DIP Lender”) is the general partner.


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The Debtors request the entry of an interim order granting authority to enter into the DIP Loan on

an interim basis, and the scheduling of a final hearing within approximately 21 days to consider

approval of the DIP Loan on a final basis. The Debtors are requesting authority to borrow up to

$6,250,000 upon entry of an interim order, approximately $5.5 million of which will be used to

refinance the KORE secured claim, and the aggregate amount of $8,000,000 on a final basis.

        8.      As reflected in the Pursell Declaration and as set forth on the record of the hearings

of the Debtors’ first day motions, the Debtors require immediate access to postpetition financing

to ensure that they are able to continue their business operations and to refinance the prepetition

KORE credit facility, which is secured by the Debtors’ accounts receivable. Absent authority to

enter into the DIP Loan, the Debtors, their creditors and the estates generally would suffer

immediate and irreparable harm because the Debtors’ viability will be jeopardized, resulting in an

immediate and pronounced deterioration in the value of the Debtors’ businesses. Thus, the

Debtors’ access to the DIP Loan is absolutely necessary to preserve and maximize value for the

benefit of all of the Debtors’ stakeholders.

        9.      The Debtors submit that the terms of the DIP Loan are reasonable and more

favorable than financing terms otherwise available in the marketplace, particularly when

considered in relation to the Debtors’ current financial condition.


                                     IV.
                 CONCISE STATEMENT OF THE MATERIAL TERMS OF
                            THE PROPOSED DIP LOAN

        10.     The following chart contains a summary of the material terms of the proposed DIP

Loan, in accordance with Bankruptcy Rule 4001(b)(1) and Local Bankruptcy Rule 4001-2(a)(ii):2


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 This summary is qualified in its entirety by reference to the provisions of the Interim Order. The proposed
Interim Order will control in the event of any inconsistency between this Motion and the proposed Interim
Order.


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    Material Terms                          Summary of Material Terms                                Para(s). of
                                                                                                   Interim Order
DIP Loan Parties              Borrower: Debtors and Debtors-in-Possession                          Interim Order
                                                                                                   Introduction
Bankruptcy Rule               Lender: Certain Legalist DIP GP, LLC serves as general partner
4001(c)(1)(B)
Amount of Borrowing           An amount not to exceed $6,250,000 upon entry of an interim          Interim Order, ¶ 3
                              order and $8,000,000 in the aggregate upon the entry of a final
Bankruptcy Rule               order.
4001(c)(1)(B)
Local Bankruptcy Rule 4001-
2(a)(ii)
Purpose / Use of Funds        The Debtors seek authority to use the proceeds of the DIP Loan       Interim Order, ¶ 2
                              for, among other things, (i) working capital requirements; (ii)
Bankruptcy Rule               general corporate purposes; (iii) the costs and expenses of
4001(b)(1)(B)(ii)             administering the chapter 11 cases, in each case pursuant to and
Local Bankruptcy Rule 4001-   in accordance with the 13-week cash collateral budget attached as
2(a)(ii)                      Exhibit 1 to the Interim Order (as the same may be updated in
                              accordance with the terms of the Interim Order, the “Budget”)
                              and (iv) to refinance the prepetition KORE credit facility on the
                              terms described herein.
Interest Rate                 U.S. prime rate (subject to a 4.00% floor) plus 11.75% per annum     Interim Order, ¶ 3

Bankruptcy Rule               The non-default interest rate set forth above plus 4.75% percent
4001(c)(1)(B)                 per annum.
Local Bankruptcy Rule 4001-
2(a)(ii)
Fees                          Commitment Fee: Two (2%) percent of the DIP Loan amount

Bankruptcy Rule               Underwriting Fee: One (1%) percent of the DIP Loan amount            DIP Credit
4001(c)(1)(B)                                                                                      Agreement
                              Monitoring Fee: 1.75% of the DIP Loan amount per annum               Sections 2.04 and
                                                                                                   2.05.
                              Undrawn Line Fee: Two (2%) percent of the DIP Loan amount in
                              the event that the DIP Loan is not consummated for any reason
                              other than the failure to obtain an interim or final order or a
                              default by the Debtors [?].
Maturity Date                 Earlier of (a) 18 months from the entry of a final order approving   DIP Credit
                              the DIP Loan, (b) the Effective Date of a confirmed plan of          Agreement
Fed. R. Bankr. P.             reorganization, or (c) following the occurrence of an Event of       Section 1.01
4001(c)(1)(B); Local Rule     Default which is not cured as provided in the DIP loan
4001-2(a)(ii)                 agreement.
Optional Prepayment           Borrower may voluntarily prepay the DIP Loan, in whole or in         DIP Credit
                              part, without premium or penalty, beginning one year after the       Agreement
                              entry of the final order approving the DIP Loan.                     Section 2.07(a)
Mandatory Prepayment          Within ten days after Debtors’ receipt of proceeds resulting from    DIP Credit
                              the sale or other disposition of DIP Collateral subject to DIP       Agreement
                              Lender’s first priority lien outside the ordinary course of the      Section 2.07(b)
                              Debtors’ businesses.




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     Material Terms                         Summary of Material Terms                                  Para(s). of
                                                                                                     Interim Order
Events of Default             Standard and customary events of default for financings of this        DIP Credit
                              type, including, without limitation:                                   Agreement
Fed. R. Bankr. P.             • non-payment of principal, interest and fees;                         Section 8.01
4001(b)(1)(B) and             • breaches of representations and warranties;
(c)(1)(B)(iii); Local Rule    • defaults under affirmative and negative covenants;
4001-                         • impairment of security interests in the DIP Collateral;
2(a)(ii)                      • a Debtors’ application or the entry of an order, in either case
                              without the prior written consent of the DIP Lender, for the
                              appointment of a trustee or examiner with enlarged powers under
                              the Bankruptcy Code;
                              • entry of an order dismissing a Case or converting a Case to a
                              case under Chapter 7 of the Bankruptcy Code;
                              • violation by any Debtors of any provisions of the DIP Orders if
                              such violation is adverse to the DIP Lender;
Priority of DIP Liens and     The DIP Lender shall be granted (i) senior security interests in       Interim Order, ¶ 6
Effect on Existing Liens      and liens on all of the Debtors’ unencumbered property (other
                              than Avoidance Actions or their proceeds) pursuant to                  DIP Credit
Fed. R. Bankr. P.             Bankruptcy Code section 364(c)(2), (ii) pursuant to Bankruptcy         Agreement
4001(b)(1)(B)(i),             Code section 364(c)(3), security interests in and liens on the         Section 10.03
(ii) and                      Debtors’ encumbered real and personal property other than
(c)(1)(B)(i); Local Rule      Accounts and Cash, which liens shall be junior and subordinate
4001-2(a)(i)                  to the Permitted Senior Liens, and (iii) senior liens on all
                              Accounts and Cash subject only to the Carveout
Superpriority Claims          DIP Claims are superpriority” administrative-expense claims            DIP Credit
                              with priority over (x) all other administrative-expense claims,        Agreement
                              expenses, and costs permitted by, described in, or entitled to         Section 1.01
                              priority under the Bankruptcy Code (subject to the Carveout (as
                              defined in the DIP Orders)) and (y) all other unsecured claims
                              against the Debtor.
Covenants                     Affirmative, negative and financial covenants that are customary
                              and appropriate for financings of this kind.
Fed. R. Bankr. P.
4001(c)(1)(B)
Budget                        The Budget is defined above and attached as Exhibit 1 to the           Interim Order, ¶ 2
Bankruptcy Rule               Interim Order.
4001(b)(1)(B)(ii)

Liens on Chapter 5 Actions    No.

Local Bankruptcy Rule
4001-2(a)(i)(D)
Milestones                    None.
Carve-Out                     Carve-Out. For purposes of the Interim Order, the “Carve-Out”          Interim Order, ¶
                              shall mean the sum of $200,000 for allowed professional fees           16
Local Bankruptcy Rule 4001-   incurred following the Carveout Trigger Date and administrative        1
2(a)(i)(F)                    expenses, including all fees required to be paid to the Clerk of the
                              Bankruptcy Court and to the U.S. Trustee under section 1930(a)
                              of title 28 of the United States Code plus interest at the statutory
                              rate




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    Material Terms                           Summary of Material Terms                            Para(s). of
                                                                                                Interim Order
Cross-                         None.
Collateralization

Local Bankruptcy Rule 4001-
2(a)(i)(A)

Findings re Validity/          Not applicable.
Perfection/Amount

Local Bankruptcy Rule 4001-
2(a)(i)(B)
Challenge Period               Not applicable.

Local Bankruptcy Rule 4001-
2(a)(i)(B)
506(c) Waiver                  Upon entry of a final order.                                     Interim Order, ¶
                                                                                                15
Local Bankruptcy Rule 4001-
2(a)(i)(C)
552(b) Waiver                  Yes.                                                             Interim Order, ¶ 9

Local Bankruptcy Rule 4001-
2(a)(i)(H)
Releases                       None.

Local Bankruptcy Rule 4001-
2(a)(ii)

Provisions Deeming             Not applicable
Prepetition Debt to be
Postpetition Debt

Local Bankruptcy Rule 4001-
2(a)(i)(E)

Non-Consensual Priming         The DIP Lender will be granted non-consensual priming liens on    Interim Order, ¶
                               the Debtors’ Accounts and Cash.                                  6
Local Bankruptcy Rule 4001-
2(a)(i)(B)                                                                                      DIP Credit
                                                                                                Agreement
                                                                                                Section 10.03

                                      V.
               HIGHLIGHTED PROVISIONS UNDER LOCAL RULE 4001-2(a)(i)

         11.        Local Bankruptcy Rule 4001-2 requires that certain provisions be highlighted and

that the Debtors provide justification for the inclusion of such highlighted provisions. The Debtors

believe that the following provisions of the Interim Order are required to be identified in



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accordance with Local Bankruptcy Rule 4001-2 and that such provisions are justified and

necessary in the context and circumstances of these cases.

       a. Local Rule 4001-2(a)(i)(A) — Cross-Collateralization. The Orders do not provide for
          cross-collateralization.

       b. Local Rule 4001-2(a)(i)(B) — Validity, Perfection, and Amount of Prepetition Liens.
          The Orders do not contain any such provisions.

       c. Local Rule 4001-2(a)(i)(B)–Committee Challenge Period. Not applicable.

       d. Local Rule 4001-2(a)(i)(C) — 506(c) Waiver. The Interim DIP Order provides for a
          506(c) waiver upon entry of a final order.

       e. Local Rule 4001-2(a)(i)(D) — Liens on Avoidance Actions. The DIP Lender shall not
          have a lien on causes of action under Chapter 5 of the Bankruptcy Code or the proceeds
          of such causes of action.

       f. Local Rule 4001-2(a)(i)(E) — Provisions Deeming Prepetition Debt to be Post
          Petition Debt. The Orders do not contain any such provisions.

       g. Local Rule 4001-2(a)(i)(F) — Disparate Treatment of Professionals Retained by the
          Committee. In compliance with Local Rule 4001-2(a)(i)(F), the Interim Order contains
          no provisions that provide for disparate treatment for professionals retained by the
          Committee with respect to the Carve Out. The Interim Budget does include a line item
          for Committee professional fees.

       h. Local Rule 4001-2(a)(i)(G) — Non-Consensual Priming. The DIP Lender will be
          granted non-consensual priming liens on the Debtors’ Accounts and Cash.

       i. Local Rule 4001-2(a)(i)(R) — Provisions Affecting the Court's Power to Consider
          the Equities of the Case. The DIP Lender is requesting a waiver of Section 552(b)..

                                       VI.
                        NEED FOR POST-PETITION FINANCING

       12.     The preservation of value of the Debtors’ businesses hinges upon obtaining access

to post-petition financing. The Debtors use cash on hand and cash flow from operations to satisfy

payroll, pay suppliers, meet overhead, and make any other payments that are essential for the

continued management, operation, and preservation of the Debtors’ businesses. The ability to

satisfy these expenses as and when due is essential to the Debtors’ continued operation of their

businesses during the pendency of these cases. Indeed, without access to post-petition financing,


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the Debtors and their estates would suffer immediate and irreparable harm as a result, among other

things, of their inability to service their landscaping and other customers. In turn, this would

necessitate the cessation of operations and the liquidation of the Debtors’ assets.

       13.     The Debtors intend to use the post-petition financing to, among other things, fund

operations to enable the preservation of the business and reorganization under Chapter 11 and to

refinance the KORE prepetition credit facility, as to which the Debtors are presently unable to

obtain working capital advances.

       14.     In conjunction with the Orders and their request to authorize post-petition

financing, the Debtors have formulated the Budget. The Debtors believe that the DIP Loan will

provide the Debtors with adequate liquidity in relation to the Budget. The Budget contains line

items for each category of cash flows anticipated to be received or disbursed during the time period

for which the Budget is prepared. The Debtors believe that the Budget includes all reasonable,

necessary, and foreseeable expenses to be incurred in connection with the operation of their

businesses for the period set forth in the Budget.

       15.     Pursuant to Section 364(c) of the Bankruptcy Code, the Debtors request that the

Court authorize the Interim DIP Loan to provide for payroll and other essential operating expenses

and the refinancing of the KORE secured loan pending final approval of the DIP Loan.

       16.     The Debtors have determined that they are unable to obtain emergency financing

in any alternative manner or on any terms superior to those described herein. The Debtors submit

that the approval of the DIP Loan is necessary to fund their post-petition operating expenses and

allow the Debtors to successfully reorganize.

       17.     A proposed form of interim order is attached as Exhibit “A” hereto. In addition to

the foregoing terms, the proposed order includes other customary terms for DIP financing orders.




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The Debtors request that the Court enter the interim order as soon as practicable to allow the

Debtors access to the funds necessary to cover basic operating expenses, and that the Court

schedule a final hearing on the matter with notice to creditors.

                                        VII.
                         THE DEBTOR SHOULD BE AUTHORIZED
                         TO OBTAIN POST-PETITION FINANCING

        18.     Authorizing the Debtors to incur post-petition indebtedness pursuant to this Motion

will provide the Debtors with the funding necessary to maintain their operations. Absent approval

of post-petition financing, the Debtors will be forced to cease all operations.

        19.     Section 364(c) of the Bankruptcy Code provides, among other things, that if a

debtor is unable to obtain unsecured credit allowable as an administrative expense under Section

503(b)(l) of the Bankruptcy Code, the court may authorize the debtor to obtain credit or incur debt

(a) with priority over any and all administrative expenses, as specified in Section 503(b) or 507(b)

of the Bankruptcy Code, (b) secured by a lien on property of the estate that is not otherwise subject

to a lien, or (c) secured by a junior lien on property of the estate that is subject to a lien. 11 U.S.C.

§ 364. The Debtors proposes to obtain the financing set forth in the DIP Credit Agreement by

providing, inter alia, superpriority claims, security interests, and liens pursuant to Sections

364(c)(l), (2), and (3) of the Bankruptcy Code and priming liens on the Debtors’ Accounts and

Cash pursuant to Section 364(1)(1) of the Bankruptcy Code.

        20.     Bankruptcy courts grant a debtor considerable deference as to post-petition

financing in acting in accordance with its business judgment. See, e.g., Bray v. Shenandoah Fed.

Sav. & Loan Ass’n (In re Snowshoe Co.), 789 F.2d 1085, 1088 (4th Cir. 1986); In re Ames Dep 7

Stores, Inc., 115 B.R. 34, 40 (Bankr. S.D.N.Y. 1990) (“cases consistently reflect that the court’s

discretion under section 364 is to be utilized on grounds that permit reasonable business judgment




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to be exercised so long as the financing agreement does not contain terms that leverage the

bankruptcy process and powers or its purpose is not so much to benefit the estate as it is to benefit

parties in interest”); see also In re Funding Sys. Asset Mgmt. Corp., 72 B.R. 87 (Bankr. W.D. Pa.

1987); In re Curlew Valley Assocs., 14 B.R. 506, 513-14 (Bankr. D. Utah 1981); In re Simasko

Prod. Co., 47 B.R. 444, 449 (D. Colo. 1985).

       21.     Particularly in view of the inherent seasonality of the Debtors’ cash flow, the

Debtors’ liquidity needs can be satisfied only if the Debtors are authorized to obtain financing

under the DIP Credit Agreement and to use such proceeds to fund their operations. The Debtors

believe that they would be unable to procure sufficient financing in the form of unsecured credit

allowable under Section 503(b)(l), as an administrative expense under Section 364(a) or (b), or in

exchange for the grant of a superpriority administrative expense claim pursuant to Section

364(c)(l). Accordingly, the Debtors submit that the circumstances of these cases require the

Debtors to obtain financing pursuant to Sections 364(c) and 364(d)(1) of the Bankruptcy Code

and, accordingly, incurring post-petition debt pursuant to the DIP Credit Agreement reflects the

exercise of their sound business judgment.

       22.     The terms and conditions of the DIP Credit Agreement are fair and reasonable, and

were negotiated extensively by well-represented, independent parties in good faith and at arms’

length. Accordingly, the DIP Lender and all obligations incurred under the DIP Credit Agreement

should be accorded the benefits of Section 364(e) of the Bankruptcy Code. The terms of the DIP

Credit Agreement are the best terms available to the Debtor and are more favorable than terms

generally available in the market.




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                                     VIII.
                      INTERIM APPROVAL SHOULD BE GRANTED

       23.     Bankruptcy Rules 400l(b) and (c) provide that a final hearing on a motion to obtain

credit may not be commenced earlier than fifteen (15) days after the service of such motion. Upon

request, however, the Court is empowered to conduct a preliminary expedited hearing on the

motion and authorize the obtaining of credit to the extent necessary to avoid immediate and

irreparable harm to a debtor’s estate pending a final hearing.

       24.     Pursuant to Bankruptcy Rules 400l(b) and (c), the Debtors request that the Court

conduct an expedited preliminary hearing on this motion and (a) authorize the Debtors to borrow

under the DIP Credit Agreement up to $6,250,000 on an interim basis, pending entry of a final

order, in order to (i) maintain and finance the ongoing operations of the Debtors, (ii) refinance the

KORE secured claim and (ii) avoid immediate and irreparable harm and prejudice to the Debtors’

estate and all parties in interest, and (b) schedule a hearing to consider entry of a Final Order.

       25.     The Debtors have an immediate need for cash to continue to operate. Currently,

the Debtors project insufficient funds with which to operate their businesses on an ongoing basis.

Absent authorization from the Court to obtain secured credit, as requested, on an interim basis

pending a final hearing on the Motion, the Debtors will be unable to pay employees and meet their

post-petition vendor obligations, which are required to maintain the value of the Debtors’ assets.

Accordingly, the interim relief requested is therefore critical to preserving and maintaining the

value of the Debtors’ assets.

       26.     To implement the foregoing, the Debtors seeks a waiver of the notice requirements

under Bankruptcy Rule 6004(a) and the ten-day stay under Bankruptcy Rule 6004(h).




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                                             IX.
                                    RESERVATION OF RIGHTS

        27.     The Debtors have and intend to assert substantial claims and/or counterclaims

against KORE. Nothing contained herein, including the proposed refinancing of the pre-petition

KORE credit facility, shall be deemed a waiver of such claims and/or counterclaims, all of which

are hereby specifically preserved.


                                                   X.
                                                 NOTICE

        28.     Notice of this Motion will be provided to: (i) the Office of the United States Trustee for

the District of Delaware; (ii) counsel for the Official Committee of Unsecured Creditors, (iii) the Internal

Revenue Service; (iv) the Office of the United States Attorney for the District of Delaware; (v) counsel to

the DIP Lender; (vi) KORE Capital Corporation; (vii) all secured creditors or their counsel; and (viii) all

parties that have requested special notice pursuant to Bankruptcy Rule 2002. Notice of the Motion and any

order entered hereon will be served on all parties required by Local Rule 9013-1(m). Due to the urgency

of the circumstances surrounding this Motion and the nature of the relief requested, the Debtors respectfully

submit that no further notice of this Motion is required.

                                               XI.
                                        NO PRIOR REQUEST

        27.     No previous request for the relief sought herein has been made by the Debtors to

this or any other court.




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                                            XII.
                                         CONCLUSION

       WHEREFORE, the Debtors respectfully request that the Court: (i) enter an Order, in

substantially the same form as that attached as Exhibit A, granting the relief requested herein; (ii)

schedule a final hearing on the Motion as soon as practicable; and (iii) provide such other relief as

the Court deems appropriate and just.

Date: September 13, 2021                      SULLIVAN ∙ HAZELTINE ∙ ALLINSON LLC
      Wilmington, DE

                                               /s/ William A. Hazeltine
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                                              Counsel for the Debtors and Debtors-in Possession




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